          Case 19-11146-amc                       Doc        Filed 06/04/20 Entered 06/04/20 10:33:03                                      Desc Main
Fill in this information to identify the case:               Document      Page 1 of 4
Debtor 1                 MYRIAM E ALVA

Debtor 2                 EDUARDO CHIPOLLINI
(Spouse, if filing)

United States Bankruptcy Court for the :EASTERN                          District of   PENNSYLVANIA
                                                                                       (State)

Case number              19-11146




Official Form 410S1

Notice of Mortgage Payment Change                                                                                                                     12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.



       Name of creditor: JPMorgan Chase Bank, National Association                        Court claim no. (if known): 1 6




                                                                                                 Date of payment change: Must be
                                                                                                 at least 21 days after date of this
                                                                                                 notice

  Last 4 digits of any number you use to
  identify the debtor’s account: 608                                                             New total payment:
                                                                                                                                             Forbearance
                                                                                                 Principal, interest, and escrow, if any




  Part 1:         Escrow Account Payment Adjustment


  1.    Will there be a change in the debtor’s escrow account payment?
        ❑ No
        ❑ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                      the basis for the change. If a statement is not attached, explain why:


                      Current escrow payment: $                                              New escrow payment:              $


  Part 2:         Mortgage Payment Adjustment

  2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
        variable-rate account?
        ❑ No
        ❑ Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                      attached, explain why:


                      Current interest rate:                            %                    New interest rate:                               %

                      Current principal and interest payment: $                           New principal and interest payment: $
           Case 19-11146-amc                       Doc           Filed 06/04/20 Entered 06/04/20 10:33:03                     Desc Main
  Part 3:           Other Payment Change                         Document      Page 2 of 4
  3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
        ❑ No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
 (Court approval may be required before the payment change can take effect.)

                     Reason for change: Notice of forbearance arrangement based on debtor's request (COVID19)

                     Current mortgage payment: $                                                New mortgage payment: $

  Part 4:           Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

        ❑ I am the creditor.
        I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
  knowledge, information, and reasonable belief.



   /s/ Ciro A Mestres
        Signature
                                                                  Date    6/3/2020




  Print:              Ciro A Mestres                                                               Title   Authorized Agent
                      First Name                   Middle Name           Last Name



  Company             Mccalla Raymer Leibert Pierce,
                      LLC

  Address             1544 Old Alabama Road
                      Number              Street

                      Roswell, GA 30040
                      City                                               State       ZIP Code



  Contact phone 678-281-6516                             Email Ciro.Mestres@mccalla.com




The use of Official Form 410S1 and of the electronic filing method for a Notice of Payment Change is being
used to provide interested parties with notice of the forbearance arrangement, detailed below. It is only
being used due to limitations on existing functionality available to limited users within the Courts’ CMECF
systems. The use of this form in no way implies that a payment change is occurring or has occurred on
the account. This filing does not imply that the provisions of FRBP 3002.1 apply to this filing, nor does the
Servicer\Creditor consent to the application of any provisions of FRBP 3002.1 to this filing.
      Case 19-11146-amc         Doc Filed 06/04/20 Entered 06/04/20 10:33:03                 Desc Main
                               NOTICEDocument
                                     OF TEMPORARY Page FORBEARANCE
                                                       3 of 4




Effective Date of Forbearance:                               5/1/2020
Number of monthly payments in Forbearance                    3




JPMorgan Chase Bank, National Association (“Creditor”) hereby provides notice that due to a recent financial
hardship resulting directly or indirectly from the COVID-19 emergency, the Debtor has requested, and Creditor
has provided a temporary suspension of mortgage payments. This short-term relief is consistent with the COVID-
19 relief available under the Coronavirus Aid, Relief, and Economic Security (CARES) Act.


During this short-term relief, all terms and provisions of the mortgage note and security instrument, other than
the payment obligations, will remain in full force and effect unless otherwise adjusted by this court or through a
loan modification. If full or partial payments continue to be received during the forbearance period, Creditor will
apply such payment(s) pursuant to standard operating procedures.


During the forbearance period and up to an including the time when that period ends, Creditor will work with the
Debtor, the Debtor’s attorney (if applicable) and the bankruptcy trustee on how to address the suspended payments
in the long-term, including obtaining any necessary court consent and approval. NOTE: This Temporary
Forbearance does not forgive any indebtedness; it only temporarily suspends the date that such indebtedness must
be paid.


This Notice does not constitute an amendment or modification to the Debtor’s plan of reorganization, does not
create a repayment plan, and does not relieve the Debtor of the responsibility to amend or modify the plan of
reorganization to reflect the forbearance arrangement, if required.


If the Debtor desires to modify the length of the forbearance period or make arrangements to care for the
forbearance period arrears, Creditor asks the Debtor or Counsel for the Debtor make those requests through
Creditor’s Loss Mitigation Team at (877) 496-3138.
      Case 19-11146-amc        Doc     Filed 06/04/20 Entered 06/04/20 10:33:03          Desc Main
                                       Document      Page 4 of 4




                                          CERTIFICATE OF SERVICE


       I certify that a true and accurate copy of the foregoing Notice of Debtor’s Request for Temporary

Forbearance was served upon the following parties in the following fashion on this 3rd day of June, 2020:


 MYRIAM E ALVA                                                                   (Served via US Mail)
 EDUARDO CHIPOLLINI
 306 OLD PENLLYN PIKE, BLUE BELL, PA 19422


 ALBERT J. SCARAFONE, JR.                                                (Served via ECF Notification)
 1717 SWEDE ROAD, BLUE BELL, PA 19422


 WILLIAM C. MILLER, ESQ.                                                 (Served via ECF Notification)
 P.O. BOX 1229, PHILADELPHIA, PA 19105




 Date: 6/4/2020                                         By: /s/ Ciro A Mestres
                                                          Ciro A Mestres
